IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

MICHAEL H. RYU,

Plaintiff,
Vv. Civil Action No. 1:15-cv-00202
DANIEL N. WHITTEN,

Defendant.

MEMORANDUM OPINION

THIS MATTER comes before the Court on Defendant’s Motion
for Summary Judgment and Plaintiff’s Partial Motion for Summary
Judgment.

Plaintiff brought the instant action against Defendant for
violation of the Fourth Amendment, malicious prosecution, false
arrest, gross negligence, and due process violation. This Court
is of the opinion that no material facts are in dispute, and
summary judgment should be granted for Defendant.

Defendant has been employed by Warren County as the
Assistant County Attorney since February 16, 2010. One of his
duties when hired was to institute collection proceedings at the
request of the Treasurer’s Office for unpaid personal property

taxes, business license taxes, business equipment taxes, fees,
penalties and interest, against businesses and individuals in
Warren County.

The Office of the Treasurer for Warren County, led by
Treasurer Wanda F. Bryant, handles tax payment receipts,
maintains records regarding taxes, and her office refers cases
to the Warren County Attorney’s Office for collection of certain
taxes, excluding real estate taxes which the Treasurer’s Office
refers to outside counsel.

Paula Blamer worked in the Warren County Attorney’s Office
from early 2007 to July of 2014. Largely, her job entailed
assisting in the collection of unpaid taxes. To assist anyone
who would replace her, Blamer created a list of procedures for
court forms.

The Treasurer’s Office began to refer tax collection
matters related to unpaid personal property taxes, business
license taxes, administrative fees, penalties and interest to
the County Attorney’s Office in approximately 2008. These taxes
went unpaid and uncollected for years. Blamer worked with County
Attorney Blair Mitchell, beginning in 2008, in filing the tax
collection suits on behalf of the Treasurer’s Office. Any
bankruptcy court proceedings related to the tax collection
matters were handled by the Treasurer’s Office.

When Defendant was hired in 2010, the Treasurer’s Office

would accumulate and refer a number of tax collection matters to
the County Attorney’s Office. The office would file the cases in
alphabetical order, for return on one of the two assigned court
hearing dates. Cases were filed in groups of 25.

In early 2013, the Treasurer’s Office sent 400 tax cases to
the County Attorney’s Office. In an effort to collect the tax
debt of CS Property on February 25, 2013, Blamer sent a letter
to “C S Property Inc” [sic] informing the company that it owed
Warren County $12,774.10 in unpaid taxes and fees, and that
legal proceedings could be instituted if the debt was not paid
by March 15, 2013. The letter was a standard form drafted before
Defendant began working at the County Attorney’s Office. Blamer
filled in case-specific details and typed Defendant’s name in
the signature line.

When the debt remained unpaid, Defendant filed a Warrant in
Debt returnable June 19, 2013, an Affidavit of Account, anda
Military Affidavit in the GDC. The named plaintiff was “County
of Warren Virginia on behalf of Wanda F. Bryant, Treasurer” and
CS Property Inc. was named defendant. The warrant was personally
served on Plaintiff on April 25, 2013.

Blamer was familiar with the forms she completed, not only
through her work in the County Attorney’s Office, but also from
four years’ experience as a GDC clerk. Pursuant to the GDC’s
instructions to Mitchell back in 2008, that registered agents

had to be identified and served, Plaintiff, the registered agent

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for CS Property, was identified. Blamer began requesting service
on registered agents in 2008 when Mitchell informed her that the
GDC judge dismissed cases they filed against corporations
because the registered agent was not served.

Plaintiff, an attorney, has operated a law firm with his
wife, also an attorney, for eight years. Plaintiff is a member
of the bars of New Jersey, Virginia, Maryland, Washington, D.C.,
and New York. Plaintiff has handled several collections cases
and remembers at least one Warrant in Debt or complaint.

Plaintiff is also admitted to the Bankruptcy Court. He has
handled 94 bankruptcy cases in three states. In this capacity he
met Charles and Stacy Kim, who contacted him about a personal
bankruptcy matter in 2010 or 2011. Mr. and Mrs. Kim are the
officers and directors of CS Property.

While the Kims’ bankruptcy matter was pending, Plaintiff
was asked to apply for CS Property to be reinstated with the
State Corporation Commission. Plaintiff also represented CS
Property in its bankruptcy case. At that time that he became its
registered agent.

Plaintiff initiated the bankruptcy proceeding on May 10,
2013, after he was served with the Warrant in Debt. One of the
documents he submitted to the court contained a list of CS
Property’s creditors, including Warren County, which he wrote

was owed $12,876.22 for real estate taxes. Plaintiff believes
that he knew the amount from the Warrant in Debt that was served
on him a few weeks earlier. Plaintiff was mistaken concerning
the amount owed for real estate taxes, and he mistakenly listed
the unpaid taxes as only real estate taxes in the interests of
brevity. He learned of the error after his arrest the following
year.

As CS Property’s attorney, Plaintiff was required to render
certain legal services to the corporation. These services
included advising the company on all pending litigation,
hearings, motions, and decisions of the bankruptcy court,
communicating with creditors and all other parties in interest,
and assisting the debtor in its negotiations with creditors.
While he was aware of the lawsuit against CS Property filed in
the GDC, Plaintiff made no attempt to contact Defendant to
inform him of the bankruptcy matter and filed no suggestion in
bankruptcy.

On June 19, 2013, neither Plaintiff nor anyone associated
with CS Property appeared in court to respond to the Warrant in
Debt. A default judgment was entered against CS Property for the
full amount of the unpaid taxes. Plaintiff never investigated
what happened at the hearing.

One week later, the U.S. Trustee on the bankruptcy matter
filed a motion to have Plaintiff removed as CS Property’s

attorney due to a potential conflict of interest. On July 10,
2013, CS Property retained new counsel, who was substituted
shortly thereafter.

A Notice of Chapter 11 Bankruptcy Case was sent to CS
Property’s creditors, including “County of Warren,” in May of
2013, the addresses used (both the street and P.O. Box
addresses) are for the Treasurer’s Office. The County Attorney’s
Office address is 220 N. Commerce Avenue, Suite 100, Front
Royal, Virginia. Defendant’s actual office was not in the main
County Attorney’s Office due to insufficient space. His
unnumbered office was located in the back of the building, at
the opposite end from the County Attorney’s Office. The Notice
identified the debtor as “CS Property, Inc. dba Pioneer Motel”
located at 301 Maple Ave West, Suite 620, Vienna, VA, 22180,
which is Plaintiff’s office address.

The Treasurer’s Office did not forward copy of the Notice
sent by the Bankruptcy Court to Defendant due to an error in
that office’s search of the debtor’s (CS Property) name upon
receipt. Searching under “CS Property,” without a space between
the “C” and “S”, located only the unpaid real estate taxes, not
the taxes for which collection had been referred to the County
Attorney’s Office. Consequently, the Treasurer’s Office had no
communication with anyone in the County Attorney’s Office,

including Defendant or Blamer, about the bankruptcy Notice.
On June 18, 2013, law firm DLA Piper forwarded to the
Treasurer’s Office address a motion that was filed in the
Bankruptcy Court requesting relief from the automatic stay in CS
Property’s bankruptcy case. The County Attorney’s Office was
forwarded a copy of that document from another internal office
on June 20, 2013, the day after the default judgment was
entered. Defendant did not see that document until after this
suit was filed. Blamer, upon receipt of the document, filed it
but did not direct it to Defendant’s attention.

CS Property’s bankruptcy case was dismissed without
discharge of any debts in December 2013. In January 2014, a
Summons to Answer Interrogatories was issued to CS Property and
the hearing was set for April 2, 2014. As with the initial
Warrant in Debt, Blamer completed the summons form, listing the
same individual to be served as she had on the Warrant in Debt-
Plaintiff. No one from the GDC clerk’s office or the court
questioned why Plaintiff was named. Blamer mailed a copy of the
summons to Plaintiff, and he was personally served with the
summons as indicated on the summons.

Plaintiff is familiar with summonses to answer
interrogatories. He is not sure that he read the language
stating, “YOU MAY BE SUBJECT TO ARREST AND IMPRISONMENT UNTIL
SUCH TIME AS YOU SHALL MAKE PROPER ANSWERS,” when he received

his summons.
After Plaintiff was served, he asked his office clerk to
send copy of the summons to Mrs. Kim in Maryland. He did not
consider whether the summons was served on him in error when
deciding to forward it to Mrs. Kim and nothing in the summons
indicated that he should forward it to anyone. He directed his
clerk to inform Mrs. Kim that she had to go to court. He did not
call Mrs. Kim, the court, Mrs. Kim’s new attorney, or the County
Attorney’s Office about the summons.

Mrs. Kim does not recall whether she ever saw the summons
due to the volume of paperwork she received in 2014, but recalls
that a woman from Plaintiff’s office told her that she was going
to fax over some documents. She does not recall receiving the
documents, and was not sure if the summons was among them. Mrs.
Kim requires the assistance of an interpreter and is unable to
fully understand written English, and no one from Plaintiff's
office ever explained that she had to go to court to answer the
interrogatories. The only document she recalled receiving was
the Warrant in Debt.

Plaintiff failed to appear at the April 2, 2014 return date
on the summons to answer interrogatories. Because of his failure
to appear, on April 8, 2014, Defendant filed a Motion for Show
Cause Summons or Capias. Blamer completed the form. Defendant
requested a capias for Plaintiff’s arrest because Plaintiff was

personally served. Had there only been posted service, Defendant
would have requested a show cause instead. Defendant submitted
the written request on April 8, 2014, and the capias was issued
by the court on April 10, 2014.

Plaintiff was arrested on May 20, 2015, for failing to
appear at the return date on the summons. Plaintiff recounts
that a Vienna police officer came to his office with the
warrant. When Plaintiff asserted that there was a mistake, the
officer said that he had to arrest him anyway. The officer
allowed Plaintiff to explain the situation to his wife and to
gather checks in the event that he needed to post bond.

The magistrate released Plaintiff on an unsecured bond and
informed him that the court hearing was the following day.
Plaintiff was picked up by an employee in the early afternoon.
He returned to work and believes he may have taken a nap and
continued his casework. While Plaintiff’s wrists were sore and
red from handcuffs, he sought no medical attention or counseling
as a result of his arrest. Plaintiff read Virginia Code § 13.1 -
1015 for the first time while researching whether a registered
agent could be arrested for a corporate debt.

Plaintiff went to court the following day, and the case was
continued for two weeks. After court, Plaintiff told Defendant
about the bankruptcy matter. They also discussed Plaintiff's
status as the registered agent for CS Property, but not an

owner, officer or employee.
Defendant reviewed the statute and determined that he would
request that the capias be dismissed. He also spoke with
Michelle Frederick, the deputy treasurer responsible for
bankruptcy cases, about why she had not informed his office
about the bankruptcy. He learned that while she was notified of
CS Property’s bankruptcy, due to a typographical error in the
company’s name, she had not realized that the notice applied to
the taxes Defendant had filed suit to collect.

In Defendant’s and Blamer’s experience in such tax
collection matters on behalf of the Treasurer’s Office, in cases
in which corporations against which Warrant in Debts were filed,
the registered agent was always an individual. Defendant never
before encountered a situation in which a registered agent
served with summons to answer interrogatories was not also an
officer or owner of the corporation.

Prior to the next scheduled court date, Defendant told
Plaintiff that he would request that the capias be dismissed.
While Defendant contacted the court to ask whether the matter
could be dismissed in advance of the court date so that
Plaintiff would not have to appear, he was unable to confirm
this for reasons beyond his control. The case was dismissed as

requested at the next hearing.

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STANDARD OF REVIEW

Summary judgment is appropriate when “there is no genuine
dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a). Summary
judgment will be granted unless “a reasonable jury could return
a verdict for the nonmoving party” on the evidence presented.
see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
An otherwise properly supported summary judgment motion will not
be defeated by the existence of a dispute as to immaterial
facts; only disputes over facts that might affect the outcome of
the trial will properly preclude the entry of summary judgment.
Id. at 248.

Plaintiff bears the initial burden of proof as to each and

every element of his claims. See United States ex rel. Berge v.

 

Bd. of Trustees of the Univ. of Alabama, 104 F.3d 1453, 1462
(4th Cir. 1997). “Conclusory or speculative allegations do not
suffice, nor does a mere scintilla of evidence in support of

[the nonmoving party's] case.” Thompson v. Potomac Elec. Power

 

Co., 312 F.3d 645, 649 (4th Cir. 2002) (internal citation
omitted) (internal quotation marks omitted); Hoschar v.

Appalachian Power Co., 739 F.3d 163, 169 (4th Cir. 2014).

 

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DISCUSSION

In the case at hand, material facts are not in dispute.
Defendant is entitled to immunity in Counts I-IV, and Plaintiff
failed to provide sufficient evidence for Count V, Due Process
Violation. Because Plaintiff failed to sufficiently establish
evidence of a county policy, practice, custom or usage,
Defendant may not be held liable for Plaintiff’s arrest. As a
matter of law, Defendant is entitled to summary judgment on all
five counts.

1. Defendant is Entitled to Immunity from Counts 1-4.

Summary judgment must be granted on claims I, II, III, and
IV—Fourth Amendment Violation, Malicious Prosecution, False
Arrest, and Gross Negligence—because Defendant is entitled to
immunity.

Whitten in his individual capacity is entitled to qualified
immunity at a minimum. “Qualified immunity shields government
officials performing discretionary functions from personal-
capacity liability for civil damages under § 1983, insofar as
their conduct does not violate clearly established statutory or
constitutional rights of which a reasonable person would have

known.” Ridpath v. Bd. of Governors Marshall Univ., 447 F.3d

 

292, 306 (4th Cir. 2006) (internal quotation marks omitted).
Government officials are entitled to the defense of qualified

immunity when sued in their individual capacities unless “(1)

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the allegations underlying the claim, if true, substantiate the
violation of a federal statutory or constitutional right; and
(2) this violation was of a ‘clearly established’ right ‘of
which a reasonable person would have known.’” Id.

The defense of qualified immunity is available to a
defendant whose actions are found unconstitutional. Saucier v.
Katz, 533 U.S. 194, 206 (2001). If there has been no violation
of a constitutional right, then the defense of qualified
immunity is not necessary or may not even be implicated. Id. at
201. The test is one of objective reasonableness, meaning, “[i]f
officers of reasonable competence could disagree on [the] issue,
immunity should be recognized.” Malley v. Briggs, 475 U.S. 335,
341 (1986). “As a matter of public policy, qualified immunity
provides ample protection to all but the plainly incompetent or
those who knowingly violate the law.” Id. at 335. The relevant
factual inquiry here is whether a reasonable assistant county
attorney could have believed that his conduct was lawful.
Anderson v. Creighton, 483 U.S. 635, 641 (1987). In the case at
hand, Plaintiff provided no evidence on which this Court could
base a belief that Defendant was unreasonable to believe his
conduct was unlawful.

The record offers no evidence to support a knowing,
intentional violation by Defendant of Plaintiff's clearly

established constitutional rights and Plaintiff’s Fourth

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Amendment claims, including any claims for unreasonable seizure,
false arrest or malicious prosecution, should be dismissed with
prejudice on the grounds of Whitten’s entitlement to qualified

immunity. Filarsky v. Delia, 132 S. Ct. 1657, 1665-66

 

(2012) (court analyzed the public policy reasons for affording
government workers, whether permanently or temporarily employed
by the government, qualified immunity including “avoiding
‘unwarranted timidity’ on the part of those engaged in the
public’s business .. . and {e]nsuring that those who serve the
government do so ‘with the decisiveness and the judgment
required by the public good’ ... .”). Because Defendant enjoys
at least qualified immunity, summary judgment is appropriate for
Defendant on Counts I-IV.

2. Plaintiff Fails to State a Claim for Count 5.

Plaintiff fails to state a claim or cause of action
establishing municipal liability under § 1983 against Warren
County, or against Defendant in his official capacity. The
evidence is insufficient to establish the existence of “an
official policy or custom of the municipality that proximately
caused the deprivation of” Plaintiff’s constitutional rights.
Randall v. Prince George County, 302 F.3d 188, 203 (4th Cir.
2002). The alleged unconstitutional act must be the result of
implementation or execution of “a policy statement, ordinance,

regulation, or decision officially adopted and promulgated by”

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the locality’s policymaking officials. Greensboro Prof.

Firefighters Assoc. v. City of Greensboro, 64 F.3d 962, 964 (4th

 

Cir. 1995). Liability must be based on “a municipal act” as
opposed to the act or actions of municipal employees; a locality
may be liable only where a final decision by an employee
“implements municipal policy.” Id. at 965 (emphasis added).

The County Attorney’s Office and, therefore, Defendant, were
acting on behalf of Bryant, the Treasurer, in pursuing tax
collection proceedings against CS Property. No Warren County
policy or custom is implicated in this case. Neither the County
Attorney nor Defendant are “policymakers” as recognized under
Virginia law for Warren County. Any policy, custom, (or even a
“practice” as Plaintiff attempts to expand the relevant
inquiry), must have been promulgated, countenanced, or
sanctioned by the County Board of Supervisors of Warren County,
the County’s policy making officials as recognized under
Virginia law (state and local law). The County Attorney’s Office
is not a separate, legally recognized, policy-making body,
independent of the County Board of Supervisors. Va. Code § 15.2-

1542. City of Virginia Beach v. Hay, 258 Va. 217, 221-22 (1999).

 

Plaintiff's Third Complaint alleges that Defendant acted “in
his individual capacity and, on Counts I and V, also in his
official capacity.” A lawsuit against an individual in his

official capacity is an action against the municipality. See

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Kentucky v. Graham, 473 U.S. 159, 165-66 (1985). “As long as the

 

government entity receives notice and an opportunity to respond,
an official-capacity suit is, in all respects other than name, to
be treated as a suit against the entity.” Id. at 165-66 (quoting

Monell v. New York City Dep’t., 436 U.S. 658, 690 n.55 (1978)).

 

Thus, the attempted claim against Defendant must fail because
the true party of interest, if a municipal liability claim
existed in this case, is the Treasurer—not even Warren County,
against whom all claims were previously dismissed based on
Eleventh Amendment immunity, and Warren County has no
municipal liability to Plaintiff.

Inasmuch as Plaintiff stated no claim against either the
Treasurer or Warren County, any official capacity claim against
Defendant should be dismissed, which was previously affirmed by
the Court in dismissing the official capacity claim attempted in
Plaintiff’s Amended Complaint.

Finally, claiming that a template created by the office
paralegal for instructions on how to pursue tax collection
proceedings against companies located in Warren County, is a
“municipal policy” created to hold registered agents liable for
corporate debts, has no support in the evidence or in law. In
point of fact, Plaintiff was not only the registered agent for
CS Property but also the company’s and the officers’ counsel for

a number of years, going back to 2011. It should not be ignored

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that throughout the bankruptcy pleadings, even after Plaintiff
was replaced as counsel, an address identified for CS Property
and its officer Stacy Kim is Plaintiff’s Vienna office located at
301 Maple Avenue, Suite 620, Vienna, VA 22180.

Plaintiff’s submission of costs and fees to the Bankruptcy
Court demonstrate that he engaged no work on behalf of CS
Property related to tax collection, regardless of his previously
filed pleading in the Bankruptcy Court stating that the duties in
which he was engaged included dealing with creditors.

By the same standard, Plaintiff’s Partial Motion for

Summary Judgment must be denied.

Conclusion

Seeing that material facts are not in dispute, Defendant’s
Motion for Summary Judgment should be granted, and Plaintiff’s
Partial Motion for Summary Judgment should be denied. An

appropriate order shall issue.

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CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
April F , 2016

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